167 F.3d 1286
    Lawrence PERKINS;  Clara Perkins;  April Perkins, a minor,By and Through her Guardian ad Litem, LawrencePERKINS, Plaintiffs-Appellants,v.CITY OF WEST COVINA;  Detective Ferrari;  Detective Melnyk,Defendants-Appellees.
    No. 94-56365.
    United States Court of Appeals,Ninth Circuit.
    March 4, 1999.
    
      Before:  CANBY, BOOCHEVER, and EDWARD LEAVY, Circuit Judges.
    
    ORDER
    
      1
      The judgment of the United States Supreme court in City of West Covina v. Perkins, --- U.S. ----, 119 S.Ct. 678, 142 L.Ed.2d 636 (1999), reversed the portion of our opinion in Perkins v. City of West Covina, 113 F.3d 1004 (9th Cir.1997) that dealt with the notice provided by the City when it seized Perkins' property.  We therefore withdraw the portion of our earlier opinion that dealth with the notice issue, 113 F.3d at 1011-14, and affirm the district court's grant of summary judgment on that issue.  Our opinion is reinstated in all other respects.  As a result the district court if AFFIRMED in all respects.
    
    